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                               UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
10                                      AT SEATTLE

11   ROBERT KORTER and LINDA KORTER,                  )
                                                      )
12          Plaintiffs,                               )
                                                      )
13          v.                                        )       Case No.
                                                      )
14
     SALLIE MAE BANK and                              )
     NAVIENT SOLUTIONS, INC.,                         )
15
                                                      )
16          Defendants.                               )

17                                    PLAINTIFFS’ COMPLAINT

18          Plaintiffs, ROBERT KORTER and LINDA KORTER, (“Plaintiffs”) file this lawsuit for

19   damages, and other legal and equitable remedies, resulting from the illegal actions of SALLIE
20   MAE BANK and NAVIENT SOLUTIONS, INC. (“Defendants”), in negligently, knowingly,
21
     and/or willfully contacting Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone
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     Consumer Protection Act, 47 U.S.C. § 227 et seq. ("TCPA").
23

24

25

     PLAINTIFFS’ COMPLAINT                                                               Sharon D. Cousineau
                                                      1                                 Samwel Cousineau, PC
                                                                                700 West Evergreen Boulevard
                                                                                 Vancouver, Washington 98660
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                                    JURISDICTION AND VENUE
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        1. Jurisdiction in this Court is proper pursuant to 28 U.S.C. § 1331 as Plaintiffs’ claims
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3
           arise under the laws of the United States.

4       2. This Court has federal question jurisdiction because this case arises out of violations of

5          federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

6       3. Defendant conducts business in Vancouver, Clark County, Washington.
7       4. Venue and personal jurisdiction in this District are proper because Defendant transacts
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           business in this District, and a material portion of the events at issue occurred in this
9
           District.
10
                                               PARTIES
11
        5. Plaintiffs are residents of Vancouver, Clark County, Washington.
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        6. In April 2014, Sallie Mae Bank spun off its loan servicing division and created Navient
13
           Solutions, Inc.
14
        7. Navient is a publicly traded U.S. corporation based in Wilmington, Delaware.
15

16      8. Navient services and collects on student loans.

17      9. Navient manages approximately $300 billion in student loans for over 12 million

18         consumers.

19                                      FACTUAL ALLEGATIONS
20      10. Plaintiff, LINDA KORTER, applied for and received student loans through Sallie Mae
21
           Bank.
22
        11. All of the telephone calls Defendants made to Plaintiffs were an attempt to collect on
23
           Plaintiffs’ student loans.
24
        12. None of the calls Defendants made to Plaintiffs were for an emergency purpose.
25

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        13. Within four (4) years of Plaintiffs filing this Complaint, Defendants called Plaintiff’s,
1
           ROBERT KORTER’S, cellular telephone xxx-xxx-8977 to service and collect on
2

3
           Plaintiffs’ student loans.

4       14. Within four (4) years of Plaintiffs filing this Complaint, Defendants called Plaintiff’s,

5          LINDA KORTER’S, cellular telephone xxx-xxx-9122 to service and collect on

6          Plaintiffs’ student loans.
7       15. Within four (4) years of Plaintiffs filing this Complaint, Defendants also called
8
           Plaintiffs’ other cellular telephone xxx-xxx-4657 to service and collect on Plaintiffs’
9
           student loans.
10
        16. Within four (4) years of Plaintiff filing this Complaint, Plaintiffs spoke to Defendant on
11
           the phone and requested Defendant stop calling Plaintiffs’ cellular telephones.
12
        17. Despite Plaintiff’s requests that Defendants stop calling Plaintiffs cellular telephones,
13
           Defendants continued to call Plaintiffs’ cellular telephones.
14
        18. Within four (4) years of Plaintiffs filing this Complaint, Plaintiffs sent Defendants a
15

16         cease and desist request.

17      19. Despite receiving Plaintiffs’ cease and desist request, Defendants continued to call

18         Plaintiffs’ cellular telephones.

19      20. All of the calls Navient Solutions, Inc., made to Plaintiffs’ cellular telephones were made
20         with the Noble Systems Dialer.
21
        21. Prior to calling Plaintiffs’ cellular telephone, Defendants knew Plaintiffs’ numbers were
22
           cellular telephone numbers.
23
        22. All of the calls Defendants made to Plaintiffs’ cellular telephones resulted in Plaintiffs
24
           incurring a charge for incoming calls.
25

     PLAINTIFFS’ COMPLAINT                                                            Sharon D. Cousineau
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        23. During at least one conversation, Defendants learned that Plaintiffs wanted Defendants
1
           to stop calling Plaintiffs’ cellular telephones.
2

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        24. Even if at one point Defendants had permission to call Plaintiffs’ cellular telephones,

4          Plaintiffs revoked this consent.

5       25. Defendants continued to call Plaintiffs’ cellular telephones after Defendants knew

6          Plaintiffs wanted the calls to stop.
7       26. Within 4 years of Plaintiffs filing this Complaint, Defendants used an automatic
8
           telephone dialing system to call Plaintiffs’ cellular telephones.
9
        27. Within 4 years of Plaintiffs filing this Complaint, Defendants called Plaintiffs’ cellular
10
           telephones in predictive mode.
11
        28. Within 4 years of Plaintiffs filing this Complaint, Defendants left pre-recorded voicemail
12
           messages for Plaintiffs on Plaintiffs’ cellular telephones.
13
        29. Within 4 years of Plaintiffs filing this Complaint, Defendants left voicemail messages
14
           from live operators for Plaintiffs on Plaintiffs’ cellular telephones.
15

16      30. The telephone dialer system Defendants used to call Plaintiffs’ cellular telephones has

17         the capacity to store telephone numbers.

18      31. The telephone dialer system Defendants used to call Plaintiffs’ cellular telephones has

19         the capacity to call stored telephone numbers automatically.
20      32. The telephone dialer system Defendants used to call Plaintiffs’ cellular telephones has
21
           the capacity to call stored telephone numbers without human intervention.
22
        33. The telephone dialer system Defendants used to call Plaintiffs’ cellular telephones has
23
           the capacity to call telephone numbers in sequential order.
24
        34. The telephone dialer system Defendants used to call Plaintiffs’ cellular telephones has
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           the capacity to call telephone numbers randomly.
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        35. The telephone dialer system Defendants used to call Plaintiffs’ cellular telephones
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           selects telephone numbers to be called according to a protocol or strategy entered by

4          Defendants.

5       36. The telephone dialer system Defendants used to call Plaintiffs’ cellular telephones

6          simultaneously calls multiple consumers.
7       37. While Defendants called Plaintiffs’ cellular telephones, Plaintiffs’ cellular telephone
8
           lines were unavailable for legitimate use during the unwanted calls.
9
                               DEFENDANT VIOLATED THE
10                       TELEPHONE CONSUMER PROTECTION ACT

11      38. Defendants’ conduct violated the TCPA by:

12             a. Placing non-emergency telephone calls to Plaintiffs’ cellular telephones using an

13                automatic telephone dialing system and/or pre-recorded or artificial voice in
14
                  violation of 47 U.S.C. § 227 (b)(1)(A)(iii).
15
           WHEREFORE, Plaintiffs, ROBERT KORTER and LINDA KORTER, respectfully
16
     request judgment be entered against Defendants, SALLIE MAE BANK and NAVIENT
17
     SOLUTIONS, INC. for the following:
18
        39. As a result of Defendants’ negligent violations of 47 U.S.C. 227(b)(1), Plaintiffs are
19
           entitled to and request $500.00 in statutory damages, for each and every violation,
20
           pursuant to 47 U.S.C. 227(b)(3)(B).
21

22      40. As a result of Defendants’ willful and/or knowing violations of 47 U.S.C. 227(b)(1),

23         Plaintiffs are entitled to and request treble damages, as provided by statute, up to

24         $1,500.00, for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B) and 47

25         U.S.C. 227(b)(3)(C).

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        41. Plaintiffs are entitled to and seek injunctive relief prohibiting such conduct in the future.
1
        42. Any other relief that this Honorable Court deems appropriate.
2

3    DATED: July 5, 2016                   RESPECTFULLY SUBMITTED,
4

5
                                           By: /s/_Sharon D. Cousineau____________
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